       Case 1:24-cv-03188-RC       Document 26    Filed 02/12/25   Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                     Civil Action No. 1:24-cv-3188
SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.



      NOTICE REGARDING OPPOSITION TO POTENTIAL CONSOLIDATION
        WITH CASES PENDING BEFORE JUDGE DABNEY L. FRIEDRICH
        Case 1:24-cv-03188-RC          Document 26        Filed 02/12/25      Page 2 of 5




       On November 12, 2024, Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”)

filed the instant case, alleging that Defendants acted in excess of their authority under the 340B

statute, 42 U.S.C. § 256b, and violated the Administrative Procedure Act, 5 U.S.C. § 706, in

issuing letters and publishing a website post that purported to prohibit J&J from adopting its

“Rebate Model” for effectuating 340B pricing.

       When J&J filed this action, it related the case to five other actions pending before this

Court. See ECF No. 2 (notice of related case citing Or. Health & Sci. Univ. v. Johnson, et al., No.

1:24-cv-02184-RC (D.D.C.); MaineGeneral Med. Ctr. v. Johnson, et al., No. 1:24-cv-02187-RC

(D.D.C.); Univ. of Rochester v. Johnson, et al., No. 1:24-cv-02268-RC (D.D.C.); Children’s Nat’l

Med. Ctr. v. Johnson, et al., No. 1:24-cv-02563-RC (D.D.C.); Univ. of Wash. Med. Ctr. v. Becerra,

et al., No. 1:24-cv-02998-RC (D.D.C.)). Those related cases involve challenges to HRSA

approvals of 340B program audits requested by J&J. J&J has moved for leave to file amicus briefs

in each of the five related cases; each proposed amicus brief notes that the issues presented in the

audit cases overlap with the reasons that J&J has sought to adopt its Rebate Model.

       Subsequent to J&J’s filing of this action, four other pharmaceutical manufacturers filed

cases in this District arising from agency actions taken in response to those manufacturers’

proposals to adopt new 340B pricing mechanisms. Each of those cases has been assigned to Judge

Dabney L. Friedrich. See Eli Lilly & Co., et al. v. Fink, et al., No. 1:23-cv-3220 (D.D.C.); Bristol

Myers Squibb Co. v. Fink, et al., No. 1:24-cv-3337 (D.D.C.); Sanofi-Aventis U.S. LLC v. HHS, et

al., No. 1:24-cv-3496 (D.D.C.); Novartis Pharms. Corp. v. Fink, et al., No. 1:25-cv-117 (D.D.C.)

(the “Friedrich Cases”).

       On January 30, 2025, 340B Health, UMass Memorial Medical Center, and Genesis

HealthCare System filed a motion to intervene in this case. ECF No. 14. On February 5, 2025,

the same parties moved to intervene in the Friedrich Cases.
        Case 1:24-cv-03188-RC           Document 26        Filed 02/12/25      Page 3 of 5




       On February 6, 2025, Judge Friedrich issued a Minute Order in each of the Friedrich Cases

that stated as follows:

               Civil Actions 24-cv-3220, 24-cv-3337, 24-cv-3496, and 25-cv-117 involve
               common questions of law and fact. In addition, 340B Health, UMass
               Memorial Medical Center, and Genesis Healthcare System have moved to
               intervene in each case. Accordingly, on or before February 11, 2025, the
               parties in each case shall notify the Court of their respective positions on
               consolidating these actions under Rule 42, at least with respect to the
               briefing on the motion to intervene and any future hearings on the pending
               motions to intervene and dismiss.

Notably, Judge Friedrich’s Minute Order did not reference J&J’s case.

       On February 11, 2025, Defendants filed Notices in each of the Friedrich Cases representing

that they believe that the Friedrich Cases should be consolidated. In addition, Defendants’ Notices

stated as follows:

               Defendants note that there are two other similar cases that should also be
               consolidated to the above-captioned three cases: Kalderos v. United States,
               Civ. A. No. 21-2608, and Johnson & Johnson v. Fink, Civ. A. No. 24-3188.
               These cases involve the same questions of law and fact as those cases
               identified in the Court’s February 6, 2025 orders. Thus, Defendants
               respectfully submit that both Kalderos and Johnson & Johnson should be
               included in any consolidation.

E.g., Eli Lilly & Co., No. 1:24-cv-3220 (D.D.C. Feb. 11, 2025), ECF No. 23. Defendants did not

consult with J&J before filing their position on consolidation in the Friedrich Cases. The plaintiffs

filed Notices agreeing that the Friedrich Cases can be consolidated for most purposes, but with

respect to J&J’s case noted “that [J&J’s] case was not a subject of the Court’s order as it is not

pending before this Court and is related to other cases involving covered-entity audits initiated by

Johnson & Johnson, all of which are pending before another judge of this Court.” E.g., Eli Lilly

& Co., No. 1:24-cv-3220 (D.D.C. Feb. 11, 2025), ECF No. 24.

       J&J submits this Notice to document its opposition to the consolidation of this action with

the Friedrich Cases. As noted above, J&J’s case is related to five other cases currently pending



                                                 2
        Case 1:24-cv-03188-RC           Document 26        Filed 02/12/25   Page 4 of 5




before this Court, and J&J believes that this Court is best positioned to adjudicate these related

cases. Further, the scope and details of J&J’s Rebate Model are different in some respects than

the models at issue in the Friedrich Cases, and J&J’s record of correspondence with Defendants

differs from the records of the plaintiffs in the Friedrich Cases.

       Moreover, consolidation of this first-filed case with the subsequently-filed Friedrich

Cases—three months after this case was filed and only after J&J has filed its Motion for Summary

Judgment, ECF No. 18—would be prejudicial to J&J. Therefore, J&J respectfully requests that

this case not be consolidated with the Friedrich Cases.



DATED: February 12, 2025


                                                Respectfully submitted,

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                                                  3
        Case 1:24-cv-03188-RC           Document 26         Filed 02/12/25   Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I certify that on February 12, 2025, I filed the foregoing with the Clerk of the Court

using the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




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